Case 1:21-cv-00704-JLS-HKS   Document 67-6   Filed 05/12/25   Page 1 of 12
                Case 1:21-cv-00704-JLS-HKS                        Document 67-6                       Filed 05/12/25                   Page 2 of 12
F. Larsson et al.                                                                                                                Journal of Power Sources 373 (2018) 220–231


self-supporting rapid temperature increase, a thermal runaway (TR),                  thermal runaway onset temperatures are lower for cells aged 36 weeks.
can also occur [5,6]. The term onset temperature of a thermal runaway                In contrast, Zhang et al. [42] studied 4.6 Ah graphite/LMO Li-ion cells
is referring to the temperature where the exothermic reactions starts                stored at 55 °C for a duration between 10 and 90 days and found that
and eventually lead to thermal runaway, while the term thermal run-                  the onset temperature of self-heating and thermal runaway increased
away temperature refers to the very rapid temperature increase of the                for increased ageing. Fleischhammar et al. [43] studied the inﬂuence of
thermal runaway. The thermal runaway is typically associated with a                  cycle ageing on the thermal response in ARC tests for 1.5 Ah graphite/
release of large quantities of smoke and gas, a possible cell case rup-              LMO-NMC high-power Li-ion 18650 cells and found signiﬁcantly lower
ture/explosion, ﬁre or a gas explosion. There are thus two main types of             onset temperatures for ﬁrst exothermic response as well as for the
explosions, an internal cell case explosion and a gas explosion of the               thermal runaway, with starting temperatures as low as 30.7 °C, and also
ﬂammable vented gases mixed with air. Cylindrical and hard prismatic                 found lithium plating on the anode for cells undergoing 1C cycling at
cells can build high internal pressures and are therefore designed to                −10 °C. Friesen et al. [44] studied safety in ARC tests of graphite/NMC
release the gases via a built-in cell safety vent, however in case of e.g. a         18650 fresh and cycle aged cells using 1C at 0 °C down to 70% state of
vent malfunction, extreme pressures can build up inside the battery cell,            health (SOH). Cells showed decreased thermal safety, aged cells had
resulting in a cell case explosion. A gas explosion, on the other hand,              onset temperatures as low as 30 °C as well as earlier thermal runaway.
occurs by a delayed ignition of vented combustible battery gases mixed               The same authors also studied safety by nail penetration abuse tests and
with air accumulated in a conﬁned or semiconﬁned enclosure. The                      found that aged cells have a delayed but more reactive thermal run-
consequences of a gas explosion can be signiﬁcantly more severe than                 away. In general, formation of lithium metal-plating on the anode at
those of a cell case explosion.                                                      low temperature cycling and/or at too high charging currents poses
    The vented gases can contain both evaporated solvents and de-                    increased risks for Li-ion batteries [43–46].
composition products, e.g. CO, CO2, H2, CH4 [7–9]. Beside CO, a large                    In this work Li-ion cell safety is studied for non-cycled cells stored at
number of diﬀerent toxic compounds can be released [10–12] including                 20 °C and 60 °C as well as for cells aged by 100, 200 or 300 deep C/2
ﬂuoride gases. Hydrogen ﬂuoride (HF) has caused most attention and is                cycles, all cells are of the same cell type, a commercial 6.8 Ah graphite/
very toxic [13–15]. Few studies have been published that report mea-                 LiCoO2 Li-ion cell. The safety is assessed by abuse testing in form of
surements of released HF amounts from commercial Li-ion battery cells                external heating (oven) accompanied with FTIR gas measurements. One
during abuse [16–20] and HF release during electrolyte ﬁre tests [21].               ARC test is performed for comparison of the safety evaluation methods.
The ﬂuorine in the cells comes from the Li-salt, e.g. LiPF6, but also from
electrode binders, e.g. PVdF, electrode materials and coatings, e.g.                 2. Experimental
ﬂuorophosphates [22,23] and AlF3-coated cathodes [5,24,25], as well
as from ﬂuorine containing additives, e.g. ﬂame retardants. Battery                  2.1. Cells tested
safety is complex and a holistic perspective is essential, for example by
introducing AlF3-coatings the risk for a thermal runaway to occur can                    The cells, all from the same batch of commercially available li-
decrease while the risk for emission of toxic ﬂuoride gases as well as for           thium-ion cells, had nominal capacity and voltage of 6.8 Ah and 3.75 V,
gas explosion might increase. The overall safety is therefore diﬃcult to             respectively, a LCO cathode, a graphite anode, a polymeric separator
evaluate, it depends on battery size and scenarios, and an improvement               and prismatic packaging, see Table 1 for detailed cell speciﬁcations.
of one parameter might actually worsen the overall safety.                           The cells contained ﬂuorine due to the presence of LiPF6 salt in the
    There are many diﬀerent types of abuse tests [26], a common one is               electrolyte, however, other parts in the cell might also contain ﬂuorine,
external heating. There are several types of external heating methods                see examples in the introduction section. Anyhow, the cell was not
for Li-ion battery cells, e.g. heating in an oven [6,26], by IR radiation            analyzed for other potential sources of ﬂuorine.
[19,20,27–29], by cartridge or other heaters [30–32], in a closed
chamber using e.g. accelerated rate calorimeter (ARC) [5,33] or other                2.2. Electrical characterization
types [8,34,35]. So far, in most studies new/fresh cells, i.e. non-aged
cells, have been tested and few studies are available investigating the                  Four-wire electrochemical impedance spectroscopy (EIS) in the
inﬂuence of ageing on safety. Still it is essential to have a high battery           frequency range 100 kHz - 5 mHz, with 60 points logarithmically dis-
safety level over the complete battery life time, since properties of the            tributed, was performed using a Metrohm Autolab PGSTAT302N and the
components may change during ageing. Ageing is typically seen in                     Metrohm Nova v1.11 software in the galvanostatic mode with an
terms of calendar and cycle ageing. In order to shorten test time, storing
and cycling the cells are often performed at increased temperatures, e.g.            Table 1
35–55 °C, however, the results measured at these temperatures will                   Speciﬁcation of the commercial Li-ion cell, from cell datasheet, electrolyte from TG-FTIR
diﬀer from those obtained during use at ambient temperature, e.g.                    analysis [47] and separator from DSC-analysis [48].
20 °C, since other side and decomposition reactions may occur. The
                                                                                       Parameter                            Value
ageing processes of Li-ion cells are non-linear and complex [36–38] and
not yet fully understood. For example, during ageing the solid elec-                   Nominal voltage                      3.75 V
trolyte interphase (SEI) layer is changed and SEI plays an important role              Nominal capacity                     6.8 Ah (20 °C, C/5 to 2.5 V cut-oﬀ)
in the early stage of the thermal runaway. Abraham et al. [9] described                Packaging                            Jellyroll in aluminum hard prismatic can
                                                                                       Weight                               140.2 g
the evolution of such modiﬁed SEI using calorimetric techniques and by
                                                                                       Cycle life according to              > 70% capacity after 600 cycles with C/2 and
quenching the temperature, described three main stages of the thermal                      datasheet                        100% depth of discharge (DOD) at 20 °C
runaway analysing the surfaces with XRD, XPS, SEM and Raman                            Max continuous discharge             14 A
spectroscopy.                                                                              current
    Roth and Doughty [39] studied the thermal stability of calendar                    Max recommended continuous           7A
                                                                                           charge current
aged Sony 18650 cells by ARC-tests and found that aged cells, up to                    Anode                                Graphite
70 °C, showed higher exothermic onset temperatures. Wu et al. [40]                     Cathode                              Lithium cobalt oxide, LiCoO2
studied 0.75 Ah non-commercial graphite/lithium cobalt oxide (LCO)                     Electrolyte                          Salt: lithium hexaﬂuorophosphate, LiPF6
Li-ion cells after 10 and 200 cycles and found that in nail penetration                                                     Organic solvents: EC, DMC, EA
                                                                                                                            Additives found: VC, presumable low molecular
abuse tests the thermal safety decreased after 200 cycles. Röder et al.
                                                                                                                            weight ketone
[41] studied 2 Ah graphite/LMO-NMC Li-ion 18650 cells stored at 60 °C                  Separator                            Shutdown separator, PE-PP
up to 36 weeks and found in ARC-tests that exothermic reactions and

                                                                               221
                Case 1:21-cv-00704-JLS-HKS                      Document 67-6                    Filed 05/12/25                 Page 3 of 12
F. Larsson et al.                                                                                                        Journal of Power Sources 373 (2018) 220–231


amplitude of 0.1 A. The cell was at ambient temperature, about 20 °C,              stored in a 60 °C oven for 10 months.
in a Faraday cage. Sense and current measurement cables were twisted                   The external heating abuse tests were performed about 2 years and
and separated, in opposite circles, to minimize interference.                      4 months after the manufacturing date. Therefore, all cells were of
    The capacity of each cell was measured using either a multichannel             equally long calendar age, but during their life time, some cells had
Digatron battery tester or a Metrohm Autolab with Booster 20 A module.             been cycled and some had been stored at 60 °C for part of their lifetime
The capacity measurements used voltage limits of 2.50 V and 4.20 V, a              (10 of 28 months).
current of 1.4 A (about C/5) and a cut-oﬀ charge current of 0.05 A.
After the ﬁrst charge, three complete discharge-charge cycles were                 2.4. External heating abuse tests
applied. Before ageing, the discharge-capacity was measured in the ﬁrst
of the three cycles while after ageing the discharge-capacity of the third         2.4.1. General setup
cycle was used to determine the cell capacity.                                         In total 14 external heating abuse tests were performed. The battery
    The battery cells were fully charged “First charge” (100% SOC)                 cells were individually heated using a thermostatically controlled oven,
before the EIS measurement. The cycle numbers presented in this paper              Binder FED 115, with an inner volume of 115 L. The battery cell was
do not include the three charge-discharge cycles used to measure the               centrally placed inside the oven and mechanically fastened with steel
cell capacity.                                                                     wire (0.8 mm diameter) on a brick, see Fig. 1. The oven was turned on
                                                                                   1 min after the start of the test and set to 300 °C, utilizing the maximum
2.3. Ageing procedure                                                              heating rate capability of the oven. The total test time varied due to e.g.
                                                                                   varying ambient conditions and eventual occurrence of gas explosions.
2.3.1. Ageing by cycling                                                               The oven was custom-made with four 50 mm diameter access ports,
    The cells were cycled individually using a Digatron battery tester,            sealed with silicon plugs and was equipped with an internal fan set to
with 100% depth of discharge (DOD) between 4.20 V and 2.50 V. The                  maximum speed in order to homogenize the internal temperature. The
current of 3.4 A (C/2), was applied for both charge and discharge and a            ventilation outlet, placed on the back of the oven, was set to be fully
cut-oﬀ charge current of 0.34 A (C/20). The cells were cycled at am-               closed. However, it was not a perfect sealing and during the abuse tests
bient temperature, average temperature of 21 °C, with forced convec-               it was partially deformed. The oven door was closed by the handle in
tion cooling. Each cell had a temperature sensor attached on the largest           the ﬁrst test but since the door opened during the gas explosion, the
side surface.                                                                      door was instead fastened by duct tape in the following tests. Also, one
                                                                                   of the silicon plugs on top of the oven was attached relatively loosely, to
2.3.2. Ageing by temperature                                                       act as a pressure vent.
    Fully charged cells were stored for 10 months in a 60 °C oven, which               Between each test the oven was lightly cleaned/washed to minimize
is the maximum allowed storage temperature according to the cell                   potential interference from e.g. particle contaminations. The glass door
manufacturer's data sheet. The cells were stored at 20 °C before and               window (triple-glass) did not mechanically break but was heavily pol-
after storing at 60 °C.                                                            luted and etched so it was replaced a few times, to have reasonable
                                                                                   video quality.
2.3.3. Complete cell ageing history                                                    The cell voltage and temperature were measured at 1 Hz using an
    Firstly, the cells were stored un-used in their shipment boxes at              Agilent 34972A with Agilent 34902A reed multiplexer module. The cell
room temperature, about 20 °C, during 12 months. Secondly, the cells               voltage was measured via a type K thermocouple cable ﬁxed by twisting
underwent their ﬁrst charge and the capacity and impedance was                     the cables in small drilled holes (0.8 mm diameter) in the electrical tab
measured for each cell. Thirdly, cells selected for cycle ageing under-            connectors. The Li-ion cell surface temperature was measured using
went cycling up to about two months (for 300 cycles). Fourthly, the                type K thermocouples attached with glass ﬁber tape (3 M, electrical tape
capacity and the impedance were measured and the cells were stored at              Scotch, 19 mm wide), measured at up to six locations, T1-T6, see
room temperature. Fifthly, a few non-cycled cells were selected and                Fig. 1D, where T1-T4 measure the center temperature of each side,

                                                                                                       Fig. 1. Photos (A-B) showing the battery cell placed inside the
                                                                                                       oven, photo (C) showing the oven with closed door, the battery
                                                                                                       cell can be seen through the glass window of the oven door, the
                                                                                                       schematic drawing (D) shows the placement of the six thermo-
                                                                                                       couples on the cell surface.




                                                                             222
                Case 1:21-cv-00704-JLS-HKS                                   Document 67-6                      Filed 05/12/25              Page 4 of 12
F. Larsson et al.                                                                                                                    Journal of Power Sources 373 (2018) 220–231


while T5-T6 are additional oﬀ-center sensors on the two largest sur-                           3. Results and discussion
faces. Thermocouples of type K were also used to measure the ambient
temperature (outside of the oven) and the internal oven temperature,                           3.1. Ageing – capacity fade and impedance
the latter one measured at two locations, as seen in e.g. Fig. 1A and B.
The abuse tests were video recorded by a camera placed outside the                                 The cell in test 12, was supposed to be cycled to 300 cycles but
oven door window. In some tests, a second video camera was also used,                          failed during the cycling process after reaching 229 cycles and it was
placed at a distance, varying between about 2 and 7 m, from the oven.                          not possible to charge or discharge it any more. The cells in test 13 and
    The cell thickness was manually measured using a caliper (gap                              14 were initially fully charged and stored in 60 °C for 10 months and
about 150 mm long) and the cell thickness value noted was the greatest                         after this time the voltage had dropped to less than 1 V. The thickness of
value, which was found at about the mid-mid center position on the                             these cells had increased from 18.5 mm to 21.3 mm (about 15%),
largest side of the cell.                                                                      however the cell weights were not changed, indicating that the cells
                                                                                               had not leaked or vented. All the other cells in this investigation had a
                                                                                               thickness of 18.5 mm before and after the cycle ageing.
2.4.2. Speciﬁc setup for measurements of gas emissions using FTIR                                  Capacity data prior to and after ageing are presented in Table 2. The
    In four of the tests, FTIR measurements of the gas emissions were                          SOH is the relative remaining capacity, calculated by the present
performed using a Bruker Alpha FTIR spectrophotometer with an ac-                              C/5 discharge-capacity divided by the initial C/5 discharge-capacity.
curacy of 0.19 cm−1. The transmission module was used with a gas cell                          After the cycling, the cells had reached the following SOH, about 94%
of 7 cm long optical path and CaF2 windows. The non-heated gas cell                            (100 cycles), 91% (200 cycles) and 89% (300 cycles). End of life (at
had a volume of 12.4 mL and was fed via a non-heated 0.73 m long                               least for the ﬁrst battery life use) is generally deﬁned as a SOH of about
HDPE hose of 1 mm inner diameter and 3 mm outer diameter, having a                             70–80% and the cell datasheet states > 70% SOH after 600 cycles
dead volume of 0.57 mL. The sampling was conducted from a central                              (Table 1), thus the tested cells are far from fully aged. The cells in test 1
top position in the oven using an aspirator pump with a controlled ﬂow.                        and 4 had lower initial discharge capacity, as shown in Table 2, because
The temperature sensor at the top of the oven was located right at the                         they were cycled 3 times prior to the capacity measurements. However,
gas outlet. All measurements and elaboration were managed with the                             even though the cells in test 1 and 4 were cycled 3 times (for details, see
accompanying software OPUS v7.2 inclusive of the package Reactmon                              note in Table 2), they are here referred to as 0 cycle cells. Fig. S1 shows
for sequencing.                                                                                the C/2 discharge capacity degradation during cycling for the cycled
    In order to have rapid measurements, the following settings were                           cells.
selected: resolution of 4 cm−1, average of 8 scans. This resulted in a                             Fig. 2 shows the impedance measurements for cells with diﬀerent
new averaged spectrum about every 12 s and an acceptable signal to                             cycle ageing. The impedance plot, Fig. 2A, has the typical appearance
noise ratio. Atmospheric compensation for H2O and CO2 was applied.                             for lithium-ion batteries, including high frequency inductance, de-
Two diﬀerent ﬂows were used in the experiments, 10 L/hour (test 3 and                          pressed overlapping semicircles at intermediate frequencies and a low
10) and 100 L/hour (test 5 and 8). A new background scan was made                              frequency spike, each corresponding to cell and connector impedance,
before the start of each measurement series. The start times for the FTIR                      SEI and charge transfer eﬀects, and mass transport, respectively [49].
and the other measurements were synchronized. The time delay from                              The average series resistance determined from the intersection with the
gas release in the oven until detection by FTIR was approximately 1                            real axis in the complex impedance plot in Fig. 2A for this cell type was
spectrum (12 s).                                                                               originally 13.2 mΩ and increased after 300 cycles to 14.4 mΩ (a 9%
    For the FTIR measurements, the baseline of the background spec-                            increase). In Fig. 2B the results are plotted as phase angle versus the
trum is shifting during the relatively long measurement series probably                        logarithm of frequency. Two peaks are found in this plot, one at fre-
due to water condensation in the FTIR measurement cell. To compen-                             quencies just above 0.1 Hz and one at about 2 Hz. While the low fre-
sate for such shifts, a baseline correction of each absorbance trace of a                      quency peak increases in size with increasing cycle ageing the second
speciﬁc wavenumber against time was performed using the OPUS                                   peak more or less disappears already after a few cycles. Anyhow, al-
software built-in Rubberband correction method.                                                ready after 3 cycles distinct diﬀerences are detected and the plot of

Table 2
Cell data for cycled and none-cycled cells, capacities measured as discharge capacities with 1.4 A (a C-rate of about C/5).

  Test No.             Cycle ageing and cell status                                         Initial                   Capacity             Calculated                Calculated
                                                                                            discharge                 after                capacity loss             SOH
                                                                                            capacity                  ageing               (Ah)                      (%)
                                                                                            (Ah)                      (Ah)b

  1                    0                                                                    6.50c                     N/A                  N/A                       N/A
  2                    0                                                                    6.63b                     N/A                  N/A                       N/A
  3                    0                                                                    6.56b                     N/A                  N/A                       N/A
  4                    0                                                                    6.47c                     N/A                  N/A                       N/A
  5                    100                                                                  6.72a                     6.26                 0.46                      93.2
  6                    100                                                                  6.64a                     6.23                 0.41                      93.8
  7                    100                                                                  6.62a                     6.25                 0.37                      94.4
  8                    200                                                                  6.60a                     6.04                 0.56                      91.5
  9                    200                                                                  6.73a                     6.05                 0.68                      89.9
  10                   300                                                                  6.53a                     5.84                 0.69                      89.4
  11                   300                                                                  6.68a                     5.95                 0.73                      89.1
  12                   Dead cell, sudden death after 229 cycles                             6.63a                     N/A                  N/A                       N/A
  13                   Dead cell, 0 cycles, stored in 60 °C during 10 months                6.71b                     N/A                  N/A                       N/A
  14                   Dead cell, 0 cycles, stored in 60 °C during 10 months                6.69b                     N/A                  N/A                       N/A

  a
    Using Digatron battery tester.
  b
    Using Metrohm Autolab PGSTAT302N.
  c
    Using Metrohm Autolab PGSTAT302N, lower value because the cell was prior charge-discharged three times using 3.4 A (C/2) with 0.34 A cutoﬀ charge current. The impact of these
three additional cycles in terms of cycling ageing is regarded as negligible.



                                                                                         223
                Case 1:21-cv-00704-JLS-HKS                        Document 67-6                    Filed 05/12/25                Page 5 of 12
F. Larsson et al.                                                                                                          Journal of Power Sources 373 (2018) 220–231

                                                                                                             Fig. 2. (A) Complex impedance, between 100 kHz and
                                                                                                             5 mHz for diﬀerent number of battery cycles at 100% SOC,
                                                                                                             real vs imaginary parts with insets around the origin, and
                                                                                                             (B) phase vs frequency. Average values, calculated for each
                                                                                                             cycle number from all available cells, except for “3 cycles”
                                                                                                             where only one cell was measured.




phase angle thus oﬀers another perspective to illustrate the inﬂuence of                 For all tests, the video analysis showed that at the same time as the
ageing. Similar plots have been published earlier for lithium-ion cells              thermal runaway temperature was reached, the cell safety vent, located
but without a more detailed discussion [50,51]. For aged batteries with              on the top of the cell, opened and released large amounts of smoke that
same electrode chemistry (graphite/LCO) the low frequency semicircle                 rapidly ﬁlled up the oven volume. The color of the released smoke was
in the impedance plot has been assigned to electrolyte oxidation at the              typically white or light grey. In case the cell safety vent would not open,
cathode [46] and it might therefore be suggested that the growth of the              e.g. due to malfunction or bad design, a cell case explosion can occur, a
peak in phase angle above 0.1 Hz in this case is also due to oxidation at            dangerous situation including the risk for ejection of ballistic pro-
the cathode. This may be likely since the cells were charged to a rela-              jectiles. This did however not occur in the present set of experiments.
tively high upper cut-oﬀ voltage of 4.20 V, yet within the cell manu-                    The working cells lost more weight and were more swollen (thicker)
facturer's speciﬁcations.                                                            than the dead cells. The weight losses were in average 22.6% for the
                                                                                     working cells and 17.0% for the dead cells. The working cells increased
3.2. External heating abuse                                                          their thickness from 18.5 mm to an average to 27.2 mm (an increase of
                                                                                     47%) while the dead cells in average were 23.8 mm thick after the
    In tests 1–11, the cells were fully charged (100% SOC), but had                  external abuse. The total test times varied somewhat as seen in Table 3,
diﬀerent cycling ageing, ranging from 0 to 300 cycles. The cells in test             resulting in diﬀerent heating exposure times. Some trend was ob-
12–14 were dead (non-functional) cells, thus the SOC was not possible                servable both on the weight loss and on the increase of thickness as
to determine. The cell in test 12 suﬀered “sudden death” during cycling              function of number of cycles. These eﬀects must have occurred within
after 229 cycles. The cells used in test 13–14 had been stored for                   the time frame of the shortest test time (75 min, in test 6).
10 months at 60 °C and had self-discharged or failed during that time
and therefore had an OCV less than 1 V, that is below 0% SOC-level.                  3.2.2. Temperature results
                                                                                         The temperature results from the external heating abuse tests are
3.2.1. Overview results                                                              presented in Table 4. The thermal runaway temperature values in
    Results from the external abuse tests of the fourteen cells of various           Table 4 are determined as the temperature when the rapid increase in
ageing and status, working cells as well as dead cells, are presented in             temperature occurs. For working cells, the thermal runaway tempera-
Table 3. In all tests, the temperature rate increased rapidly when the               ture was easily determined while for the dead cells, and in particular for
temperature reached the thermal runaway temperature, and all cells                   test 12, it was less distinct. The dead cells have a signiﬁcantly higher
underwent a thermal runaway. For test 1–11, there were short (less                   thermal runaway temperature, lower temperature rise rate and lower
than a second) and typical small ﬂares, sparks and jet ﬂames coming                  peak temperatures. The results for the dead cells with 0 cycles and
out of the cell after the thermal runaway, see examples in Fig. 3. In                stored for a part of its lifetime at 60 °C for 10 months, tests 13–14, show
some cases, the cell was on ﬁre for longer time and with larger ﬂames,               high reproducibility. The dead cells might still contain a large amount
referring to the term “ﬁre” in Table 3. The ﬁre was typically followed by            of ﬂammable electrolyte, although important changes must have hap-
a smaller ﬂame ﬁre, see Table 3, which indicates the presence of one or              pened at the electrode interfaces. Cells at diﬀerent SOC levels were not
several ﬂames over an extended period of time. Furthermore, the terms                studied and hence any potential similarities between cells with low SOC
“non-ﬁre” or “without ﬁre” are used when there was no ignition of the                levels and the dead cells are unknown.
battery or its gases. This does not take into account the initial short                  The cell surface temperature sensors, T1-T6, are in general reliable
ﬂares/sparks/jet ﬂames. The term “gas explosion” refers to a delayed                 at temperatures up to the thermal runaway. The thermal runaway
ignition of the accumulated ﬂammable gases released from the battery                 temperature values were calculated as an average of sensors T1 and T3
mixed with air inside the oven, which in the present case resulted in a              for all tests except for test 13 (see note in Table 4). Above the thermal
pressure wave forcing the oven door to open. Gas explosions are                      runaway temperature, the sensors record quite diﬀerent temperatures
common phenomena in ﬁre science [52] however not often discussed                     and occasionally detach from the cell due to the high temperature, cell
with regard to Li-ion battery ﬁres. In this study, as seen in Table 3, the           expansion and eventual gas explosions. Therefore, another average
tests for all working cells resulted either in non-ﬁre or in a gas explosion         value, Tavg2, was used to ﬁnd the maximum average cell surface
followed by ﬁre. Furthermore, for about half of the working cells and                temperature, the corresponding temperature increase (ΔT) and the time
for all levels of cycle ageing a gas explosion occurred followed by a ﬁre            duration (step time, Δt) for that increase. Tavg2 was calculated using all
during about 30 s and a subsequent small ﬂame ﬁre for about 20–50 s                  usable sensors of T1-T6, speciﬁed in Table 4. Usable sensors were de-
thereafter. For the dead cells, test 12–14, the results were signiﬁcantly            ﬁned as sensors that had not lost cell surface contact. Since the number
diﬀerent, the video analysis did not show any ﬂares/sparks/jet ﬂames,                and positions of the usable cell temperature sensors varied the results
nor ﬁre or gas explosion occurred.                                                   presented in Table 4 naturally varies. The thermal runaway

                                                                               224
                  Case 1:21-cv-00704-JLS-HKS                                 Document 67-6                     Filed 05/12/25                    Page 6 of 12
F. Larsson et al.                                                                                                                         Journal of Power Sources 373 (2018) 220–231


Table 3
Overview results from external heating abuse tests.

  Test No.    Cycle ageing and cell    FTIR gas              Total test    Thermal runaway        Thermal runaway outcome                              Weight loss   Thickness after
              status                   measurement           time (min)    and major ventinga     Time as min:sec                                      (%)           test
                                                                           (min:sec)                                                                                 (mm)

  1           0                                              105           68:39                   • Flares/sparks/jet ﬂames                           22.3          25.5
                                                                                                   • No  ﬁre or explosion
  2           0                                              127           64:24                   • Flares/sparks/jet ﬂames                           22.9          26.0
                                                                                                   • No  ﬁre or explosion
  3           0                        YES                   84            68:16                   • Flares/sparks/jet ﬂames                           22.4          27.1
                                                                                                   •  Gas explosion @ 68:30
                                                                                                  (oven door fully opened, camera still attached
                                                                                                  and observes the accompanied ﬁre)
                                                                                                    • 32 s ﬁre
                                                                                                    • 14 s small ﬂame ﬁre (above cell vent)
  4           0                                              84            62:55                    • Flares/sparks/jet ﬂames                          22.1          28.0
                                                                                                    • Gas explosion @ 63:08
                                                                                                  (oven door opened about 10 cm, camera still
                                                                                                  attached and observes the accompanied ﬁre)
                                                                                                    • 32 s ﬁre
                                                                                                    • 38 s small ﬂame ﬁre (above cell vent)
  5           100                      YES                   84            61:54                    • Flares/sparks/jet ﬂames                          23.1          27.0
                                                                                                    • No ﬁre or explosion
  6           100                                            75            59:22                    • Flares/sparks/jet ﬂames                          24.0          27.2
                                                                                                    • Gas explosion @ 59:33
                                                                                                  (oven door fully opened, camera still attached
                                                                                                  and observes the accompanied ﬁre)
                                                                                                    • 32 s ﬁre
                                                                                                    • 40 s small ﬂame ﬁre (above cell vent)
  7           100                                            84            61:43                    • Flares/sparks/jet ﬂames                          22.7          25.9
                                                                                                    • No ﬁre or explosion
  8           200                      YES                   94            60:39                    • Flares/sparks/jet ﬂames                          22.2          27.8
                                                                                                    • Lighter Gas explosion @ 61:05
                                                                                                  (door not opened, minor pressure wave on oven
                                                                                                  backside, camera still attached and observes the
                                                                                                  accompanied ﬁre)
                                                                                                    • 81 s ﬁre
  9           200                                            86            62:26                    • Flares/sparks/jet ﬂames                          22.8          27.2
                                                                                                    • No ﬁre or explosion
  10          300                      YES                   94            63:30                    • Flares/sparks/jet ﬂames                          21.9          28.0
                                                                                                    • Gas explosion @ 63:46
                                                                                                  (oven door opened a few cm (door reclosed after
                                                                                                  about 1 min), camera blown oﬀ)

  11          300                                            87b           61:21c
                                                                                                    • No camera to observe any ﬁre
                                                                                                  Power blackoutb @ 61:17 (unfortunately just          22.7          29.0
                                                                                                  before TR)
                                                                                                    • No camera to observe any possible ﬁre
                                                                                                    • No explosion heard, oven door not opened
  12          Dead cell, sudden                              84            68:36                    • No ﬂares/sparks/jet ﬂames                        14.8          23.9
              death after 229 cycles                                                                • No ﬁre or explosion
  13          Dead cell, 0 cycles,                           86            73:36                    • No ﬂares/sparks/jet ﬂames                        17.9          23.5
              stored in 60 °C during
              10 months
                                                                                                    • No ﬁre or explosion

  14          Dead cell, 0 cycles,                           87            72:04                    • No ﬂares/sparks/jet ﬂames                        18.2          23.9
              stored in 60 °C during
              10 months
                                                                                                    • No ﬁre or explosion
   a
     The major venting happened at the very same time as the thermal runaway temperature is reached, rapidly increasing the temperature rate. The “major venting” is also in this paper
referred to as the “3rd vent”.
   b
     Power blackout at the test facility, data logging, oven camera and external heating switched oﬀ during about 9 min (no data logging during 9 min 39 s). Secondary video camera
outside still functional (laptop-battery pack-powered) and was used to observe time for major venting and assumed to be time for TR.
   c
     Determined by secondary video camera outside oven.


                                                                                                                            Fig. 3. Two video pictures at thermal runaway @ time
                                                                                                                            59:22 in test 6, showing a relative large jet ﬂame (A) and
                                                                                                                            smaller ﬂares next after in time (B), neither of them ignited
                                                                                                                            the cell or the gas mixture in the oven.




                                                                                         225
                Case 1:21-cv-00704-JLS-HKS                                     Document 67-6                  Filed 05/12/25                     Page 7 of 12
F. Larsson et al.                                                                                                                          Journal of Power Sources 373 (2018) 220–231


Table 4
Temperature results from the external heating abuse tests, where ΔT is the diﬀerence between the Max Tavg2 and the Thermal runaway temperature. The step time, Δt, is the
corresponding time diﬀerence for ΔT.

  Test No.    Cycle ageing and cell status                            Thermal runaway       Max single        Max Tavg2     ΔT     Δt           Max dTavg2    Sensors used for
                                                                      temperature           sensor            (°C)          (°C)   (sec)        (°C sec−1)    Tavg2
                                                                      (°C)                  (°C)

  1           0                                                       195                   636               600           405    65           30            T1, T4
  2           0                                                       195                   646               582           387    94           22            T1, T3, T5, T6
  3           0                                                       192                   530               450           258    16           72            T1, T2, T3, T4, T5, T6
  4           0                                                       192                   663               562           369    40           31            T2, T3, T5, T6
  5           100                                                     190                   579               523           333    73           25            T1, T3, T4, T5
  6           100                                                     191                   647               580           389    74           37            T3, T5
  7           100                                                     187                   567               524           337    84           23            T1, T2, T3, T4, T5, T6
  8           200                                                     189                   605               570           382    49           25            T1, T2, T3, T4, T5, T6
  9           200                                                     188                   529               490           302    87           17            T1, T4, T5, T6
  10          300                                                     191                   604               534           343    29           39            T1, T4, T5, T6
  11          300                                                     > 188a                N/A               N/A           N/A    N/A          N/A           N/A, Power blackout
  12          Dead cell. sudden death after 229 cycles                205                   361               339           134    129          4             T1, T2, T3, T4, T5
  13          Dead cell. 0 cycles. stored in 60 °C during 10 months   201b                  540               460           260    76           10            T3, T4, T5, T6
  14          Dead cell. 0 cycles. stored in 60 °C during 10 months   203                   547               463           260    75           9             T1, T2, T4, T5

  a
    The average cell surface temperature was 188 °C when power blackout occurred. The thermal runaway happened about 5 s later. The average temperature curves for test 10 and test
11 followed each other very well up to the time of the power blackout.
  b
    T1 thermocouple failed at the beginning of the test, so instead of calculated the average as T1 and T3, the average value was calculated using the ﬁve temperature sensors T2-T6.




                                                                                                process the thermal properties (e.g. thermal conductivity, speciﬁc heat
                                                                                                capacity, density) of each material vary due to temperature change, due
                                                                                                to phase change (e.g. separator melting) and due to mass loss (e.g.
                                                                                                venting, ﬁre) [1]. The tested cells had an aluminum case, with high
                                                                                                thermal conductivity, yet the temperature diﬀerences are large. For
                                                                                                other types of cell casing, e.g. pouch, even larger temperature dis-
                                                                                                tributions might be present.
                                                                                                    Fig. 5A shows the average cell surface temperature prior to and
                                                                                                during the early stage of the thermal runaway and all tests are time
                                                                                                synchronized to the thermal runaway temperature. The temperature
                                                                                                drops some minutes before the thermal runaway, seen for some of the
                                                                                                curves, in particular clearly seen for the blue lines (100 cycles) and
                                                                                                identiﬁed as due to gas release, in this paper referred to as the 2nd vent.
                                                                                                Fig. 5B shows the thermal runaway temperature values for the working
                                                                                                cells vs the number of ageing cycles, showing a shallow minimum be-
                                                                                                tween 100 and 200 cycles. The ﬁgure also shows the weight loss and the
                                                                                                thickness after the test vs the number of cycles. In one of the tests, test
                                                                                                11, a total power blackout occurred at the test site seconds before the
Fig. 4. Results from test 7, (A) showing the derivate of the average cell surface tem-
perature, dTavg2, and (B) showing the cell voltage, the temperature values from the             thermal runaway. The time for major venting in test 11 could anyway
battery surface temperature sensors, T1-T6, and from the two temperature sensors in the         be determined using a battery operated outside camera. The time be-
oven, Toven mid and Toven top.                                                                  tween the last logged data point at 188 °C and the observed gas release
                                                                                                and its corresponding thermal runaway was about 5 s, although for a
temperature values are thus rather well-deﬁned while the maximum                                short time the temperature rate increase is relatively rapid. The tem-
temperature values spread more.                                                                 perature heating curves for test 10 and 11 followed each other very well
    The cell surface temperature sensors show relatively similar tem-                           up to the blackout.
perature values before thermal runaway, in contrast to the large tem-                               The value of thermal runaway temperature presented in this paper
perature diversity between the sensors after the thermal runaway. Fig. 4                        is the very last temperature point before the start of the rapid tem-
shows cell voltage, average temperature rate and temperature mea-                               perature increase, seen in Fig. 5A. The thermal runaway temperature
surements for test 7, which was one of few tests having all six tem-                            values presented here are about 190 °C for the working cells, and range
perature sensors usable during the complete test. The cell surface                              between 201 and 205 °C for the dead cells. Similar temperature values
temperatures in Fig. 4 vary up to approximately 100 °C. In other tests,                         have been reported earlier [8,26,44,53].
local cell surface temperature variations were up to about 300 °C at the                            If the external heating had stopped at some time before the thermal
most. For this type of measurements, it is important to use multiple cell                       runaway temperature, the cells could still go into thermal runaway
surface temperature sensors combined with proper validation methods                             depending on the cell temperature, the cells own heat-generation rate
to obtain reliable temperature measurements. The large temperature                              and ambient conditions such as cell cooling rate. However, the ex-
diﬀerence on the cell surface could be explained by the anisotropic heat                        perimental method used in this work did not use a heating step increase
transfer, the rapid and large heat generation, and inﬂuence from                                method with pauses. Another common method used in the Li-ion bat-
venting and ﬁre. During thermal runaway the internal cell heat gen-                             tery safety ﬁeld is the ARC test, according to a Heat-Wait-Search (HWS)
eration likely gives the highest temperature near the center of the cell.                       procedure, where the battery cell is heated up with high sensitivity and
The heat transfer in the cell varies greatly in the in-plane compared to                        the heating is halted if exothermic heat is detected from the battery cell,
across the plane (anisotropic heat conduction) and during the heating                           monitoring the exothermic cell reactions under adiabatic conditions.


                                                                                          226
                Case 1:21-cv-00704-JLS-HKS                                    Document 67-6                      Filed 05/12/25                   Page 8 of 12
F. Larsson et al.                                                                                                                          Journal of Power Sources 373 (2018) 220–231




Fig. 5. The average cell surface temperature calculated as average of the sensors T1 and T3, showing (A) temperature vs time for all tests (the time-scales have been synchronized to the
rapid temperature rise at the thermal runaway temperature, using the time in test 1 as reference time), (B) showing the thermal runaway temperature, cell weight loss and cell thickness
after test vs number of cycles, for all working cells (the three lines are 2nd order polynominal data ﬁt for each data type).


For ARC-measurements the onset temperature of thermal runaway can
be deﬁned as the temperature when the self-heating rate (SHR)
is > 0.2 °C min−1 and the thermal runaway temperature when
SHR > 10 °C min−1 [5,44]. The temperature where the exothermic
reactions and the self-heating starts is test equipment speciﬁc and ty-
pically occurs when SHR > 0.02 °C min−1 [44].
    The heating time in ARC is typically long, which allows time for
boiling/venting and potential side-reactions at high temperatures to
occur, e.g. electrolyte degradation and breakdown of SEI and electrode
materials, which may aﬀect the test results compared to if the cell is
heated up more rapidly. In a hypothetical case, if the electrolyte would
have enough time to boil/vent at lower temperatures, no thermal
runaway can occur at higher temperatures since no electrolyte-elec-
trode reactions can occur creating the thermal runaway. The heating
test time of about 60 min used in the present paper, also gives time for
side reactions and electrolyte boiling/venting, however less time com-
pared to the ARC test method. As a comparison, a cell from the same
batch at 100% SOC was externally abused in an ARC test by the                                   Fig. 6. Measurements of temperature, cell voltage and gas emissions for test 5 with 100
National University of Singapore. If the thermal runaway temperature                            cycles. The three separate vents and thermal runaway are marked with arrows.
is determined from the ARC measurement in a similar way as used in
the oven experiment, the result is approximately 140 °C. The tem-
                                                                                                the thermal runaway, and in our work, it is increasing with the number
perature vs time curve can be seen in Fig. S2. The results for the two
                                                                                                of cycles. A cell thickness increase observed in dead cells before heating
measurements thus diﬀer by about 50 °C. The thermal runaway tem-
                                                                                                indicates that the irreversible deformation and thickening of the case
perature values for the same type of cell thus depend on the test method
                                                                                                might occur before the venting in all cases.
and on its deﬁnition, as well as the location, number and measurement
quality of the temperature sensor(s) used. It is crucial to be aware of
this when comparing thermal runaway temperatures or onset tem-                                  3.2.3. Results combined with gas measurements
perature values from diﬀerent studies.                                                              Fig. 6 shows the measurements of temperature, cell voltage and gas
    The observed minimum in the thermal runaway temperature,                                    emissions for test 5, a cell which was aged by 100 cycles. Three vents
Fig. 5B, reﬂects the ﬁndings of Wu et al. [40], who reported a decreased                        were detected. The ﬁrst vent, releasing dimethyl carbonate (DMC) and
thermal stability for similar, but smaller, Li-ion cells tested at up to 200                    ethyl acetate (EA) vapours, occurred at the same time as the cell voltage
cycles (about < 87% SOH, calculated from Ref. [40]). In that case,                              went down to about 0 V. The cell voltage drop started when the surface
diﬀerential scanning calorimetry (DSC) analysis of the electrodes sug-                          temperature was about 130 °C. This temperature is very close to the
gested that by ageing, part of the lithium content of the cathode is ir-                        ﬁrst melting temperature of the cell's shutdown separator, as can be
reversibly transferred to the anode, creating a SEI layer derived by                            seen in Fig. S3. DSC measurements on two commercial separators, one
reaction with electrolyte. For 300 cycles, we observe a slightly less                           PP monolayer and one trilayer shutdown separator PP/PE/PP, as well
pronounced reactivity in terms of thermal runaway and maximum                                   as the separator extracted from a non-abused battery cell, are shown in
temperatures, which is only marginally associated with a diminished                             Fig. S3. Due to the melting of the separator the temperature is expected
energy storage capability. In addition, the weight loss curve, see                              to show some decrease since the process is endothermic, instead the cell
Fig. 5B, has a maximum corresponding to the minimum of the thermal                              surface temperature measurement clearly shows a minor temperature
runaway temperatures for the cells, suggesting a correlation for the two                        increase during 12 s. A possible explanation for the observed tem-
phenomena and an explanation based on the slightly higher reactivity                            perature increase could be that the cell undergoes an internal cell short
of the cells for this stage of cycle ageing.                                                    circuit generating heat, however it should only be possible in case the
    It is reasonable that the cell thickening, Fig. 5B, observed at the end                     shutdown separator would have a failure/melting of both separator
of the test, is related to an inelastic deformation of the cell case during                     material layers. The second vent also releases ethylene carbonate (EC),

                                                                                          227
                Case 1:21-cv-00704-JLS-HKS                                  Document 67-6                        Filed 05/12/25             Page 9 of 12
F. Larsson et al.                                                                                                                     Journal of Power Sources 373 (2018) 220–231


Table 5
Flammability data for the electrolyte solvents in the cell.

  Electrolyte solvent                  Molecule weight          Boiling temperature              Autoignition temperature     Flash point        Flammable limits, lower/upper
                                       (g mol−1)                (°C)                             (°C)                         (°C)               (%)
                                                                [54]                             [54]                         [54]               [55]

  Ethyl acetate (EA)                   88                       77                               427                          −3                 2.2/9
  Dimethyl carbonate (DMC)             90                       91                               458                          16                 4.22/12.87
  Ethylene carbonate (EC)              88                       248                              465                          143                3.6/16.1



                                                                                                 counteractions, the gas explosions had probably been more severe.
                                                                                                 Videos from tests 4, 6 and 10, recorded at the time around the gas
                                                                                                 explosion, are available in the supplementary materials: in video ﬁles;
                                                                                                 VideoTest4, VideoTest6 and VideoTest10.
                                                                                                     A comparison of temperature related data, presented in Fig. S4,
                                                                                                 shows that for cycle aged cells, the thermal runaway is somewhat de-
                                                                                                 layed (occurring at a higher thermal runaway temperature) for tests
                                                                                                 having gas explosions. These tests also show higher temperature dif-
                                                                                                 ferences (higher maximum temperature), while cells with no cycle
                                                                                                 ageing (0 cycles) shows the opposite trend. Thus between 0 and 100
                                                                                                 cycles the reversed trend is inﬂuenced by the initial ageing before 94%
                                                                                                 SOH.
                                                                                                     For the 300 cycle cells adequate data exists unfortunately only from
                                                                                                 one test and consequently the trend above 200 cycles cannot be prop-
                                                                                                 erly assessed. A common trend is anyhow that the maximum tem-
                                                                                                 perature rise rate is highest for all tests undergoing gas explosions,
                                                                                                 independent of cycle ageing, see Table 4 and Fig. S4, with maximum
Fig. 7. Measurements of temperature, cell voltage and gas emissions for test 10 with 300         values ranging between 25 and 72 °C sec−1. Test 1 had a maximum
cycles. The video camera went oﬀ due to explosion so there was no camera to observe the
                                                                                                 value of 30 °C sec−1, hence the cell might have been close to a gas
occurrence of ﬁre. Due to the explosion, the oven door was opened and the gas emission
amounts rapidly decreased.
                                                                                                 explosion, however, it did not happen and neither the gases nor the cell
                                                                                                 did catch ﬁre.
                                                                                                     A general trend regarding the occurrence of gas explosions is diﬃ-
3.5 min before the thermal runaway, and the cell temperature clearly                             cult to ﬁnd from the test matrix. It is anyhow surprising that close to
decreased during this venting due to the cooling eﬀect of the outﬂowing                          half of the tested cells, for all cycle ageing levels, did undergo a gas
gas. The ﬁrst and the second vents were not seen or heard on the video,                          explosion, a result we consider accidental.
and were determined only from the FTIR gas measurement. The boiling                                  The cycle ageing up to 300 cycles, resulted in up to about 10%
temperature for DMC and EA is signiﬁcantly lower than for EC, as seen                            capacity drop (90% SOH) as well as a growth in impedance (series
in Table 5. The third vent, also referred to as the major venting in                             resistance) up to of about 10%. Hence, the ageing eﬀect on safety was
Table 3, occurred when the cell safety vent opened completely, the cell                          not fully studied. Future studies might ﬁnd the occurrence of gas ex-
went into thermal runaway and the gas emissions also contained HF                                plosions and other thermal eﬀects to increase, be similar or decrease by
besides DMC, EA and EC. HF and POF3 (not shown in Fig. 6) were                                   ageing. The resistance increase can be associated with SEI formation,
simultaneously detected for the ﬁrst time in the third vent/major vent                           and the thickness, morphology and composition of the SEI aﬀects the
that is clearly visible and audible on the video. Emission of the toxic                          heat generated at breakdown at a pre-stage of thermal runaway. The
and potentially explosive gas CO was detected in the third vent, by the                          ageing eﬀects of the electrolyte are not well studied however we still
appearance of its characteristic vibro-rotational bands with maxima at                           considered it ﬂammable.
2116 cm−1 and 2172 cm−1 centered around 2144 cm−1. With respect                                      The formation of Li-metal (Li-plating) at the electrode(s) due to
to the solvent bands, the intensities of the CO bands are relatively low.                        cycling is assumed to be minor, since the cycling was performed at
Fig. 7 shows the gas emission, temperature and cell voltage results for                          room temperature and without extreme current rates. The inﬂuence of
test 10, a cell aged with 300 cycles, and the results are similar to the                         Li-plating, if present, on the thermal runaway is likely combined with
results in test 5, however test 10 undergoes a gas explosion. The video                          the thermal reaction of the lithiated graphite anode with the electrolyte
of the thermal runaway and gas explosion from test 10 can be seen in                             and dependent on the external heating abuse type.
the supplementary materials, VideoTest10.                                                            From the video analysis, it was seen that all working cells, test 1–11,
    Supplementary video related to this article can be found at http://                          generated visible ﬂames and sparks, however even if the oven was ﬁlled
dx.doi.org/10.1016/j.jpowsour.2017.10.085                                                        with released smoke and emitted gas no ignition occurred until at a
                                                                                                 later stage. For an explosion to occur, the mixture of gases and air must
3.2.4. Gas explosions                                                                            be within certain limits and an ignition source must be present. In the
    For the working cells, gas explosions were relatively common, i.e.                           ﬁrst about 10 s of battery gas emissions from the 3rd vent, these criteria
an explosion happened in 5 out of 11 cases, and happened for all levels                          might not have been fulﬁlled. The smoke and gas in the 3rd vent ﬁlled
of cycle ageing in the investigated range (0–300 cycles). In test 3, 4, 6                        the oven in about 2–3 s and thereafter it was not possible to clearly
and 10 the oven door ﬂung open, the camera was blown oﬀ/moved and                                determine the presence of ﬂames or sparks from the video due to the
a bang was heard when the gases in the oven ignited. For the gas ex-                             low visibility in the smoke. Before the third vent/thermal runaway, the
plosion in test 8, the gases ignited, but the development was diﬀerent,                          oven was ﬁlled with gas emissions originating from the 1st vent as well
less powerful. The time between thermal runaway/major venting until                              as the signiﬁcantly larger release of the 2nd vent detected by FTIR, so
ignition was 26 s in test 8 while in the other four cases the gas explosion                      the jet ﬂames and sparks observed just after the safety vent opened in
occurred 11–16 s (with an average of 13.5 s) after the thermal runaway.                          the third vent did not ignite these gases, in none of the tests.
If the oven had been perfectly sealed and without the pressure release

                                                                                           228
              Case 1:21-cv-00704-JLS-HKS                      Document 67-6                    Filed 05/12/25               Page 10 of 12
F. Larsson et al.                                                                                                      Journal of Power Sources 373 (2018) 220–231


    For all cells with 0, 100 and 200 cycles the cell thickness expansion         LiPF6 → LiF + PF5                                                           (1)
was larger if the cells had gone through a gas explosion, for the 300
                                                                                  PF5 + H2O → POF3 + 2HF                                                      (2)
cycle cells, it was the opposite. The fact that cells involved in a gas
explosion were thicker might indicate that those cells did build up a             POF3 + 3H2O → H3PO4 + 3HF                                                   (3)
higher pressure and temperature (see Fig. S4) inside the cell before the
safety vent opened completely.                                                        As seen from eqs. (2) and (3), water/humidity is needed in order to
    It is not possible to exactly determine the ignition source when the          produce HF. The cell interior, e.g. the electrolyte, might contain very
gas mixture ﬁnally ignited. The ignition could have started inside or             small traces of water but they generally disappear in the ﬁrst cycles of
outside the cell. The ignition source of the gas explosion could e.g. be          the battery by contributing to the formation of the SEI layer. In normal
due to non-observed sparks or ﬂames originating from the thermal                  conditions and at moderate temperature increase, the cell is still fully
runaway, or an internal cell short circuit due to separator melting, or           sealed. When the cell sealing breaks, at the 1st vent, gas emissions are
simply by autoignition of the hot gas mixture. The cell surface tem-              let out in oven air which contains humidity. There is thus a potential for
perature was at least for some time higher than 465 °C for all working            humid air to react with cell materials in the 1st and 2nd vents, however
cells, thus above the auto ignition temperature for EA, DMC and EC, see           HF and POF3 are not yet detected. The large cell opening of the cell
Table 5. The gas explosion might potentially be due to ignition of other          safety vent occurs in the third vent, and this is the only vent phase
released battery gas products, e.g. CO and H2. CO release was observed            where HF as well as POF3 are detected.
in all tests with gas measurements but only in the third vent. The in-                It is an interesting question why HF and POF3 are detected only in
tensities of the CO bands were relatively low compared to that of the             the 3rd vent and not during the 1st and 2nd vents where the cell is open.
solvents, and there was no diﬀerence in intensity for tests with and              Possibly, in the ﬁrst and second vents the electrolyte solvents are
without gas explosions. Furthermore, the cell internal temperature was            boiling oﬀ and emitted as single compounds without the Li salt. In the
probably higher than the measured surface temperature. The cell might             third vent, the gas release is so strong, as is clearly observed from video,
possibly contain ﬂame retardants in the electrolyte. This might explain           that it can release not only the most volatile part of the electrolyte but
why none of the cells had an instant ignition and not all tests had a             the remaining electrolyte including part of the LiPF6. Thereafter the
delayed gas ignition/gas explosion.                                               LiPF6 containing electrolytes can react with the humidity in the oven
    Table 5 shows ﬂammability data for EA, DMC and EC. The auto-                  and produce HF and POF3.
ignition temperature is the lowest temperature at which a ﬂammable                    The temperature also inﬂuences the HF formation, however the
mixture of the solvent can spontaneously ignite. The ﬂashpoint is the             temperature diﬀerences in the three vents are relative low. For the four
lowest temperature at which the liquid can be ignited with an ignition            tests having gas measurement, the temperature of the gas sampled at the
source. Within the ﬂammability range, between the lower and the                   gas outlet, was 174–185 °C in the ﬁrst vent and 193–197 °C in the second
upper ﬂammability limit, a gas mixture can be ignited and cause a gas             vent. In the third vent, where HF and POF3 were detected, the tem-
explosion. When a ﬂammable mixture is ignited it will typically expand            perature ranged between 203 and 240 °C and the air temperature rose to
5–8 times due to the temperature increase, i.e. it will cause an over-            more than 300 °C in the cases when a gas explosion occurred. The gas
pressure of 5–8 bar if conﬁned. Note that many building structures such           temperature was however recorded in the oven and not in the FTIR gas
as doors and windows can withstand a pressure diﬀerence of less than              cell. Anyhow, during the external heating, warm oven air is continuously
100 mbar. A rather small amount of electrolyte is needed in order to              sucked into the gas sampling tubes and gas cell thus warming them. For
create a ﬂammable mixture. In one cubic meter about 30 L (3% of 1 m3)             the higher ﬂow rate used in test 5 and 8, the gas volume of the sampling
of solvent in the gas phase is needed. Using the ideal gas law and                system (hose and gas cell) was about 13 mL while the ﬂow rate was
normal temperature and pressure, one obtains that 30 L corresponds to             about 28 mL s−1, so ambient cooling eﬀect was probably relative low.
about 100 g of solvent. This means that evaporating 1 kg of electrolyte,          For the lower ﬂow rate used in test 3 and 10, about 2.8 mL s−1, the
corresponding to about 350 Ah, solvent can result in a ﬂammable                   reﬁlling time was anyway less than 5 s. It should also be noted that the
mixture of 10 m3.                                                                 gas sampling ﬂow rates correspond to about one or less volume change of
    For the 115 L volume of the oven, 100 g m−3 corresponds to about              the oven volume, which is 115 L, per hour. The oven is not perfectly air
12 g (8% of the cell weight) of released electrolyte that will result in          tight so a relatively small yet essential air inﬂow facilitates more time-
reaching the lower ﬂammability limit (LFL) in the oven. The working               accurate FTIR measures. Conversely, when the oven door opened due to
cells lost between 31 and 34 g in weight, while the dead cells lost               gas explosions, the FTIR gas emission data did not show accurate data.
21–26 g, and the material sprayed during the vents consists of several                Fig. 8A shows a FTIR vibro-rotational spectrum of HF vapor origi-
cell parts, e.g. electrolyte, separator, etc, indicating that LFL would           nating in the oven, and Fig. 8B shows detection of POF3 at an earlier
probably be reached relatively easy in all the tests, yet not all did ig-         time in test 5. POF3 is detected by its characteristic band at 1416 cm−1,
nite/explode. It is important to consider that due to the non-ideal be-           which is assigned to the prohibited Q-branch of the stretching mode
havior of gases and gas mixtures the LFL might vary from the one stated           [56]. The nearby bands at 1456 cm−1 and 1375 cm−1 correspond to
for each gas and also the gas concentration will have some variations             residual evaporation of DMC [57] and EA [58], respectively. Simulta-
within the oven volume. Besides, the rapid expansion of the gases in the          neously the P-F asymmetric stretching mode of POF3 is also detected at
oven at the increasingly high temperatures might have produced a lean             989 cm−1 [56]. The time sample at 79.6 min of the test 5 in Fig. 8A
oxygen environment, changing the conditions for ignition.                         shows that HF is still present at 79.6 min, that is 17.7 min after the
                                                                                  thermal runaway temperature. The FTIR measurement shows that HF is
                                                                                  present during a longer time than POF3 which can be explained by that
3.2.5. Toxic gas emissions                                                        POF3 is a less chemically stable intermediate compound, decomposing
    Gas emissions of CO, HF and POF3 were measured in all four tests              according to eq. (3). These ﬂuorinated gases could be adsorbed and/or
where the FTIR gas measurement was employed, regardless if there was              react on the surfaces, e.g. on the oven inner walls, resulting in lower,
a ﬁre or not. CO is an asphyxiant gas. HF is very toxic while POF3 can be         but not less synchronized, observed gas emissions.
seen as a precursor of HF by hydrolysis and therefore may be con-
sidered toxic. The sources of ﬂuorine can be several as discussed in the
                                                                                  3.2.6. Gas detection
introduction, however a major ﬂuorine source is typically the Li-salt
                                                                                      The gas emissions released from a Li-ion battery are both toxic and
LiPF6 producing HF and POF3 according to Yang et al. [56],
                                                                                  ﬂammable. If the gas is not immediately ignited there is a risk for a




                                                                            229
              Case 1:21-cv-00704-JLS-HKS                             Document 67-6                    Filed 05/12/25                 Page 11 of 12
F. Larsson et al.                                                                                                              Journal of Power Sources 373 (2018) 220–231




                      Fig. 8. FTIR measurement in test 5, (A) showing HF emission at time 79.6 min and (B) showing POF3 emission at time 61.8 min.


delayed ignition when the ﬂammable gas-air mixture reaches the                          4. Conclusions
ﬂammability range in case there is an ignition source, e.g. the hot
battery cell itself. If the gases are conﬁned by e.g. the battery system                    Hard prismatic LiCoO2-graphite cells with a nominal capacity of
box itself or in the outer installation box/room, this will result in a                 6.8 Ah were abused by external heating in an oven. The study included
potentially severe gas explosion.                                                       cycle aged cells, non-cycled cells stored at 60 °C as well as non-cycled
    In particular for large Li-ion battery systems, it can be an essential              cells stored at room temperature. Both working and non-working
strategy to have the ability to collect gas emissions and ventilate them                (dead) cells were investigated. Upon external heating, all cells under-
out in a safe way. If gas sensors are used, they could possibly detect the              went thermal runaway releasing smoke and gas. For about half of the
level of hydrocarbons and the gas explosion risks. Gas sensors could                    working cells, the gases accumulated in the oven ignited causing a gas
also be used to detect toxic gases, e.g. HF sensing. There might there-                 explosion about 15 s after the thermal runaway and accompanied with
fore be a need of having multiple and dynamic gas sensors to detect                     a major smoke and gas release. Whether the cells had or had not been
early cell venting. The ﬁrst and second vents detected in the present                   the subject of cycling did not inﬂuence the occurrence of the gas ex-
tests are not visually observed or audible and thus not easily detected                 plosions, they occurred at all cycle ageing levels from 0 to 300 full deep
without gas sensors. However, the cell heavily equipped with six cell                   cycles. The cells were aged to about 90% SOH and future studies are
surface temperature sensors, shows a temperature drop when the gases                    needed to investigate safety upon end-of-life criteria, preferably below
are released in the second step. The ﬁrst vent is not clearly seen in the               50% SOH in order to include second life use. Future studies are also
temperature data, but it indicated by the voltage drop to 0 V. A voltage                needed to understand the mechanisms between ageing and safety. The
drop to 0 V can indicate other types of events with and without gas                     gases were analyzed using FTIR. Gas emissions of toxic hydrogen
release.                                                                                ﬂuoride were detected both with and without ﬁre. Consequently, no ﬁre
    The second vents are quite clearly seen in Fig. 5A, when the average                was required for HF production and after a ﬁre HF emissions were still
cell surface temperature suddenly drops, just a few minutes before the                  present. The ﬁre inﬂuence on HF production rate levels was not studied.
thermal runaway. The change in temperature rate in the second vent is                   Another emitted potentially toxic gas and a HF precursor, POF3, was
also clearly seen in Fig. 4, where the dTavg2 rapidly drops before its                  also detected simultaneously with HF. The hazardous gas CO was also
very rapid increase at the thermal runaway temperature. Adequate cell                   detected in the 3rd vent. The thermal runaway temperature was about
surface temperature sensor(s) in a battery pack could therefore poten-                  190 °C and was shown to have a weak correlation with the number of
tially predict and detect a large release of gas. Battery packs of today                cycles in the ageing process, having a minimum value between 100 and
typically do not have one temperature sensor per cell, instead e.g. 1–2                 200 cycles, within the tested cycle range of 0–300 cycles.
temperature sensors per battery module (e.g. 20 cells) are used.                            Three dead cells were tested, one that experienced sudden death
Anyhow, there is no universal standard and this type of sensing can                     during cycling after 229 cycles and two cells that had not been cycled
vary a lot, making presumed gas detection warnings from battery cell                    but instead stored at 60 °C for 10 months. The dead cells also went into
surface temperature measurements not functional, except in case of a                    thermal runaway; however, they were signiﬁcantly less reactive with
gas release in cell(s) in direct contact with the installed temperature                 increased thermal runaway temperatures and a lower rate of tem-
sensor. The major venting during cell safety vent opening that releases                 perature increase. These cells did not emit any sparks or ﬂames and
large amounts of smoke and gas, is rather easily seen visually. Battery                 there was no resulting ﬁre or gas explosion. The work presented here
systems typically have a high tightness class, e.g. IP67, which hinder                  shows the importance of a full assessment of the gases released, their
gas release and visual detection and potentially increase the risks of gas              toxicity, ﬂammability and conditions for explosion, in order to be able
explosion if gases are ﬁnally released. Without detection of vented                     to design appropriate safety measures in the application and also to be
gases, it may be impossible to eliminate a situation in which an im-                    able to select what cells to use in diﬀerent applications. The monitoring
minent gas explosion is present, where released ﬂammable gases are                      of the temperature and of gas release is shown as a method of an early
accumulated inside the battery, and only an ignition source stands                      detection of gas threat and an imminent thermal runaway.
between the occurrence of a gas explosion. Situations like this could be
detected via gas sensors installed into the battery box. A well safety                  Acknowledgements
categorized battery with a strategically planned temperature detection
system might also give a secondary but early measure of gas emissions.                     The Swedish Energy Agency and Carl Tryggers Stiftelse för
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                                                                                  230
              Case 1:21-cv-00704-JLS-HKS                                       Document 67-6                         Filed 05/12/25                     Page 12 of 12
F. Larsson et al.                                                                                                                                 Journal of Power Sources 373 (2018) 220–231


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